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4
                                UNITED STATES DISTRICT COURT
5
                                       DISTRICT OF NEVADA
6

7
      JOSE VALDEZ-JIMENEZ,                           Case No. 2:19-cv-00581-RFB-VCF
8
           Petitioner,
9                                                    ORDER GRANTING MOTION TO
              v.                                     DISMISS (ECF Nos. 25, 27) AND
10                                                   DISMISSING ACTION
      SHERIFF JOSEPH LOMBARDO,
11
           Respondent.
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14            This action is a petition for a writ of habeas corpus, under 28 U.S.C. § 2241, by
15   Jose Valdez-Jimenez, who was a pretrial detainee at the Clark County Detention
16   Center, in Las Vegas, Nevada, when he initiated the action. See Petition for Writ of
17   Habeas Corpus (ECF No. 1), p. 2. Valdez-Jimenez claimed that his federal
18   constitutional rights were violated with respect to the setting of bail. See id.
19           On June 25, 2019, the respondents filed a motion to dismiss (ECF Nos. 25, 27),
20   requesting that the action be dismissed because Valdez-Jimenez has now pled guilty
21   and waived his right to a trial, ending his pretrial detention, and thereby rendering moot
22   his claim regarding the setting of his bail and depriving the Court of jurisdiction. See
23   Motion to Dismiss Petition as Moot (ECF No. 27), pp. 2-4 (citing Murphy v. Hunt, 455
24   U.S. 478, 481-82 (1982)). On the same date, Valdez-Jimenez responded to the motion
25   to dismiss, giving notice that he agrees the case is moot and the Court is without
26   jurisdiction, and that he does not oppose the motion to dismiss (ECF No. 28).
27   ///
28   ///
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1          Therefore, good cause appearing,

2          IT IS HEREBY ORDERED that Respondents’ Motion to Dismiss Petition as Moot

3    (ECF Nos. 25, 27) is GRANTED. This action is dismissed, without prejudice.

4          IT IS FURTHER ORDERED that the Clerk of the Court is directed to enter

5    judgment accordingly and close this case.

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7          DATED this 26th day of June, 2019.

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                                            RICHARD F. BOULWARE, II,
10                                          UNITED STATES DISTRICT JUDGE
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